                 Case 2:20-cr-00146-JCC Document 48 Filed 11/20/20 Page 1 of 2




 1

 2

 3

 4

 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,

 9                             Plaintiff,                 Case No. CR20-146 JCC

10          v.                                            ORDER GRANTING MOTION TO
                                                          REOPEN AND CONTINUING
11   JESUS DANIEL LERMA-JARAS,                            DETENTION

12                             Defendant.

13

14          This matter is before the Court on Defendant’s motion for review of detention order.

15   (Mot. (Dkt. # 37).) Having reviewed the motion, the Government’s response (dkt. # 41),

16   Defendant’s reply (dkt. # 42), pretrial services supplemental report (dkt. # 40), and heard the

17   argument of counsel and statement of Defendant on November 20, 2020, the Court GRANTS the

18   motion to reopen. For the reasons stated on the record and below, the Court orders Defendant

19   detained.

20          Defendant stipulated to detention on September 1, 2020. (Dkt. # 6.) According to

21   Defendant, he reserved his argument for release for a later date. (Mot. at 2.) The Court finds,

22   regardless of whether Defendant reserved his argument, there is new information sufficient to

23   reopen Defendant’s detention hearing.

24

25   ORDER GRANTING MOTION TO REOPEN AND
     CONTINUING DETENTION - 1
               Case 2:20-cr-00146-JCC Document 48 Filed 11/20/20 Page 2 of 2




 1          There is a presumption in this case that there are no conditions or combination of

 2   conditions that would mitigate risk of flight or danger to the community if Defendant were

 3   released. The Court found that Defendant had overcome the presumption with strong family ties

 4   in Washington and a lack of criminal history. The Court nevertheless finds that Defendant poses

 5   a risk of nonappearance due to his strong family ties to a relative in Mexico, whom he supports,

 6   and that he is a citizen of Mexico. The Court also finds that Defendant poses a risk of danger due

 7   to the allegations of numerous firearms found in Defendant’s home during two search warrants

 8   and that Defendant is prohibited from possessing firearms. The Court also finds the allegations

 9   that Defendant was confronted with the charges in 2018 and allegedly continued to engage in the

10   criminal conduct raises the concern that Defendant will not abide by conditions set by the Court.

11   The Court therefore ORDERS Defendant detained.

12          Dated this 20th day of November, 2020.

13


                                                          A
14

15                                                        MICHELLE L. PETERSON
                                                          United States Magistrate Judge
16

17

18

19

20

21

22

23

24

25   ORDER GRANTING MOTION TO REOPEN AND
     CONTINUING DETENTION - 2
